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AllRad Direct Diligence Report - 5-18-2017 Draft.pptx

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Wed, 31 May 2017 17:21:09 -0400

Attachments:
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AllRad Direct
Due Diligence Findings

Draft Report
May 18, 2017

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> Recommendations

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Objectives

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Objective | :

To develop a comprehensive understanding of the functionality and technology stack for AllRad
Direct’s Network Management Solution.

UL! Assess the existing functionality in terms of Capability to support the business requirements for a
provider network in an Accountable Care Organization.
UL) Assess the development effort required to eliminate any identified gaps in required functionality
LI Assess the fit with the existing CHT technology stack
LI Determine the feasibility of integrating with the existing CHT Healthcare Applications
_ Information Sources -
Prnary Researen: ee Sevenaeey Research -
CL) Functional Review of Software a Market research reports and publications
QO Technical Review of Software from key industry associations

L} Publicly available information —-company
websites, media coverage, industry
publications, press clippings, etc.

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a Product Overview

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Network Management Solution Overview a

AllRad Direct (AllRad) designed and developed a healthcare network
management system which they used for radiology referrals. Their innovative
technology took three 25 developers over 4 years to develop and enhance. The
company believes that the total cost was between $6 and $8 million. company
with one service and an innovative software solution.

The network management solution automates the entire referrals process
including scheduling patient appointments, patient appointment follow-up
including gathering and communicating imaging results. The system
automatically communicates the physiological and clinical data required from
the radiological provider to ensure the highest quality of service from the
referred facility and the quickest and most accurate diagnosis for the patient.
Although the focus of the AllRad Direct development effort was radiology
referrals, the generic nature of the software allows easy adaptation for other
specialties, labs, and physical therapy facilities.

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Strategic Fit and Synergies

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Strategic Fit and Synergies

CHT’s strategic direction is leverage its industry position as a leading RCM provider
and IPA operator to move into the far more lucrative business as an ACO. With a
technology platform that already includes PM, RCM, and BI, applications; CHT is well
positioned to make the transition. In addition to the existing CHT applications an ACO
requires a network management system to coordinate care between providers. The
AllRad Network Management Solution is a big step in the right direction. While this
acquisition will not provide a complete network management solution for a CHT ACO,
it will provide a robust starting point, with many of the features required for an ACO.

CHT will want to leverage the NYNM network to build a future ACO. Currently the
NYNM physicians and practices use many different EHR systems. AllRad’s Network
Management Solution has been designed to easily integrate with most EHR systems,
which means that it will make an ideal interface system between existing CHT
applications and ACO participating providers and also out-of-network providers.

The AllRad Solution uses the same Microsoft development platform and database as
CHT’s proprietary Pegasus applications, PARCS and Pegasus BI, which ensures that
the same team of technology experts CHT uses for development, support, and
enhancement of the existing applications can also be used for the Network
Management Solution.

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~ Detailed Assessinent

Functionality Assessment

AllRad’s Health Network Management Solution delivers the following capabilities to network participants.
) Referrals
o Specialists
o Imaging and Labs
o Physical Therapy
o Hospitals, Surgery Centers, and Long Term Care Facilities
o Pharmacies

Functionality requires additional

C1 Patient Scheduling and Pre-Authorization enhancements/development

Cl Billing and Follow-up
o Insurance both primary and secondary

o HCFA and EOBR features Functionality is not as robust as

PARCS and Orion RCM Applications.

Cj Payer Management
o Contracts and Fee Schedules
o Claim Submission

@) PRO management

() Alerts and Notifications
o Patients

o Providers BI provides superior functionality,

move reports to BI platform..

1 Robust Reporting Capabilities
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Detailed Assessment
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Functionality Assessment

LU} Provider Portal
O Management and Status Reporting

o Schedule Change Management
o Payment Tracking and Reporting
(1 Data Collection and Storage
o Patient Demographics
o Patient Procedure and Clinical Documentation
o Billing and Payment Processing and Reporting
CL! Automatically Schedules Patient Procedures
o Contacts patients via fax, e-mail, mail, and phone
o Enables patient call in and real time scheduling with provider
(} Patient Portal
Medical History Request and Reporting
Payments and Payment Reporting
Appointment Request and Scheduling/Re-scheduling

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Demographic Data and Insurance Coverage Maintenance

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Automated notifications and reminders of appointments

Automated Alerts when schedules are changed

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~ Detailed Assessifent

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Technology Assessment

The AllRad Health Network Management Solution is built on a Microsoft technology
platform which delivers a highly versatile and dynamic architecture to ensure the highest
levels of security, compliance, reliability, and performance. The architecture is designed
to be a cloud based SaaS solution to support any scalability, performance, and availability
requirements. The following are the key components of the architecture:
Components

SQL Server

NET 4.5

HL7 interfaces

EDI and Secure FTP file transfer and communications

Fully HIPAA compliant

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Price Justification Assessment

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Employee forecast:

Liabilities forecast:

EBITDA (forecast) 41000 -4000

nown and Bnieipaicae were ieldaed in liabilities forecast

1. All liabilities (

2. Client forecast includ

3. Forecast accuracy is + or — 5% accurate

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Ss Recommendations

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Application Platform for CHT - Recommended

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5 & e Pegasus Code Review (PCR) Pegasus Scan (PSCAN)
“ < s Inputs from Hospital and Practice EMR or PM systems Automates claims entry of paper forms by creating batches in
£ S$ s E Automates coding and Demographic Data Scrubbing Pegasus Accounts Receivable and Collections System
os= ces : ce ansinennaiinesisnansin
228 ~ Pegasus Accounts Receivable and Collections System (PARCS)
” L Workflow automation and claim status management __
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3 Imagine and Med FM || Centricity All Script | Criterions || SQLMed || Reflections || Medical Manager —
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Patient Portal
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= | DataWarehouse | Tool see ae
t cS ashboar
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co ! Solution along with
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fill this Gap.

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Recommendations
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The Sage Group has the following recommendations to ensure optimal shareholder value is
realized by this acquisition:

1. Purchase AllRad Software and all rights to any of the concepts and uses.
2. Enhance the AllRad Software

a. Modify all screens and portals to reflect CHT branding

b. Enhance referral functionality to manage the following functionality
i. Hospital Admissions and Discharge
ii. | Long Term Care or Specialized Nursing Facilities, etc.
iii. | Rehabilitation Facilities (physical therapy, etc.)
iv. Pharmacies and medication distributors

c. Enhance the clinical documentation and communication functionality to meet the needs of an ACO

d. Integrate the solution with the following CHT applications
i: PARCS
ii, Pegasus Bl
iii. Provider and Patient Portals

3. Enhance Pegasus BI Reporting and Data Warehouse to maintain all Network related data

a. Patient (insurance/finance, demographics, symptoms, diagnosis, treatment, results, satisfaction, lifestyle and
health/treatment monitoring info)

b. Provider

c. Payer

d. Clinical

e. Note: Must maintain all RCM related data also

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~ Recommendations

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Sage Group understands that the implementation of a fully functional Network Management
Solution will be guided by the emergent needs of the CHT ACO/IPA and the cost of the
enhancements will vary based on the detail design of the final solution: however we provide
the following high level cost estimate to help CHT better plan for the enhancement project.

The cost for enhancing and maintaining the software will be around $3.5 million a year for 3
years and $500K on-going.

A. Design, Development, Testing, and Implementation — 3 years

mo fh

10 FTE in USA - $1.5M

30 FTE in India - $1M
Management Supervision - $.5M
Consultant - $.25M

Misc. - $.25M

B. Maintenance and Minor Modifications — On-going

1.

2.
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1 FTE in USA - $150 K

5 FTE in India - $200K

Management Supervision - $50K

Misc. - $100K (Database expansion and performance enhancements)

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